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 6                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 7                                    AT SEATTLE
 8
     UNITED STATES OF AMERICA,                            NO. CR04-512-MJP
 9
                                    Plaintiff,
10
            v.                                            SUMMARY REPORT OF
11                                                        U.S. MAGISTRATE JUDGE AS
12   JAMES EDWARD GRATTON,                                TO ALLEGED VIOLATIONS
                                                          OF SUPERVISED RELEASE
13                                  Defendant.

14
            An initial hearing on a petition for violation of supervised release was held before the
15
     undersigned Magistrate Judge on April 6, 2010. The United States was represented by
16
     Assistant United States Attorney Steven Masada, and the defendant by Allen Bentley.
17
            The defendant had been charged and convicted of Conspiracy to Commit Bank Fraud,
18
     in violation of 18 U.S.C. § 1349. On or about January 31, 2006, defendant was sentenced by
19
     the Honorable Marsha J. Pechman, to a term of 60 months in custody, to be followed by 5
20
     years of supervised release.
21
            The conditions of supervised release included the requirements that the defendant
22
     comply with all local, state, and federal laws, and with the standard conditions. Special
23
     conditions imposed included, but were not limited to, participation in a substance abuse
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     program, financial disclosure, $112,517.45 restitution, search, DNA collection, abstain from
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     the use of alcohol and/or all other intoxicants, maintain a single checking account in his name,
26


     SUMMARY REPORT OF U.S. MAGISTRATE
     JUDGE AS TO ALLEGED VIOLATIONS OF
     SUPERVISED RELEASE - 1
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 1   if the defendant maintains interest in any business or enterprise, must disclose business records

 2   to the probation office, disclose all assets and liabilities, prohibited from incurring new credit

 3   charges, opening additional lines of credit or obtaining a loan without approval of the

 4   probation officer, and shall not obtain or possess any driver’s license, social security number,

 5   birth certificate, passport, or any other form of identification in any other name other than

 6   defendant’s true legal name..

 7          In a Petition for Warrant or Summons, dated March 24, 2010, U.S. Probation Officer

 8   Joe G. Mendez asserted the following violations by defendant of the conditions of his

 9   supervised release:

10          (1)     Failing to submit monthly reports within the first five days of every month for

11                  the months of January and February, 2010, in violation of standard condition

12                  #2.

13          (2)     Failing to submit to drug testing on January 6, and 21, 2010, February 4 and 19,

14                  2010, and March 2, 2010, in violation of special condition #3.

15          (3)     Failure to participate in drug treatment at Pioneer Human Services as directed

16                  by the probation officer on December 15, 2009, in violation of a special

17                  condition #5.

18          (4)     Committing the crime of Possession of Stolen Property in Seattle, Washington,

19                  on or about February 16, 2010, in violation of the general condition that he not

20                  commit a federal, state, or local crime.

21          On April 6, 2010, defendant made his initial appearance. The defendant was advised of

22   the allegations and advised of his rights. Defendant admitted to violations 1, 2 and 3, and

23   denied violation 4.

24          I therefore recommend that the Court find the defendant to have violated the terms and

25   conditions of his supervised release as to violations, 1, 2 and 3, and recommend the Court

26   conduct an evidentiary hearing on alleged violation 4, combined with a disposition hearing on


     SUMMARY REPORT OF U.S. MAGISTRATE
     JUDGE AS TO ALLEGED VIOLATIONS OF
     SUPERVISED RELEASE - 2
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 1   admitted violations 1, 2 and 3. A disposition hearing on violations 1, 2 and 3, and an

 2   evidentiary hearing on violation 4, have been set before the Honorable Marsha J. Pechman on

 3   April 22, 2010 at 10:30 a.m.

 4          Pending a final determination by the Court, the defendant has been detained.

 5          DATED this 6th day of April, 2010.

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                                                  A
                                                  JAMES P. DONOHUE
 8                                                United States Magistrate Judge

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10
     cc:    District Judge:               Honorable Marsha J. Pechman
11
            AUSA:                         Steven Masada
12          Defendant’s attorney:         Allen Bentley
            Probation officer:            Joe G. Mendez
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     SUMMARY REPORT OF U.S. MAGISTRATE
     JUDGE AS TO ALLEGED VIOLATIONS OF
     SUPERVISED RELEASE - 3
